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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF DELAWARE

PFIZER INC., FOLDRX                                   )
PHARMACEUTICALS, LLC, PF PRISM                        )
IMB B.V., WYETH LLC, and THE SCRIPPS                  )
RESEARCH INSTITUTE,                                   )
                                                      )
                          Plaintiffs,                 )
                                                      )
                  v.                                  )    C.A. No._______________
                                                      )
AUROBINDO PHARMA LIMITED,                             )
                                                      )
                          Defendant.                  )


                 SUPPLEMENTAL INFORMATION FOR PATENT CASES
            INVOLVING AN ABBREVIATED NEW DRUG APPLICATION (ANDA)

       Plaintiffs hereby provide the information below with respect to the deadlines set forth in
21 U.S.C. 355(j):

          Date Patentee Received Notice: On or about October 5, 2023

          Date of Expiration of Patent: December 19, 2024*

          Thirty Month Stay Deadline: The earlier of November 3, 2026† or expiration
*
    Additional patent term extension pending under 35 U.S.C. § 156.
†
    Calculated pursuant to 21 U.S.C. § 355(j)(5)(F)(ii), which applies in this case.




                                              /s/ Megan E. Dellinger
                                              Attorney(s) for Plaintiffs
October 19, 2023
